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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-CR-60201-RAR

  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  LESTER JAVIER BERMUDEZ ALVAREZ,

        Defendant.
  ________________________________/

             ORDER SETTING TRIAL DATE AND PRETRIAL INSTRUCTIONS

          THIS CAUSE is hereby set for Jury Trial at 299 East Broward Boulevard, Courtroom

  205C, Fort Lauderdale, Florida, during the two-week period commencing September 16, 2019.

  Calendar Call will be held at 11:00 A.M. on Tuesday, September 10, 2019 at the same location.

  All pre-trial motions and motions in limine must be filed by August 27, 2019. Each party is

  limited to filing one motion in limine. If there is more than one Defendant, the Defendants shall

  file a combined motion in limine. Motions in limine may not, without leave of the Court, exceed

  the page limits allowed by the Local Rules.

          It is further ORDERED AND ADJUDGED as follows:

          1. All requests for writs ad testificandum must be filed no later than 14 business days

  prior to the first day of the scheduled trial period.

          2. All responses pursuant to the Standing Discovery Order and/or Local Rule 88.10 shall

  be provided in a timely fashion in accordance with the dates scheduled by the Magistrate Judge.

  Noncompliance with the Standing Discovery Order, the Local Rules, or the Federal Rules of
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  Criminal Procedure may result in sanctions. Any notice submitted pursuant to Federal Rule of

  Evidence 404(b) shall include a specific factual basis for the evidence sought to be introduced.

         3. To the extent required by Local Rule 88.9, all motions shall be accompanied by a

  written statement certifying that counsel for the moving party has conferred with opposing

  counsel in a good faith effort to resolve by agreement the subject matter of the motion.

  Email communications shall not be sufficient to constitute conferral. Counsel must actually

  speak to one another, either in person or over the phone, in a good faith effort to resolve their

  disputes prior to filing any motion.

         4.   Counsel shall be prepared to conduct limited voir dire following the Court’s

  questioning of the panel. At any time prior to Calendar Call, each party may file no more than

  five proposed voir dire questions for the Court to ask of the venire.

         5.   The parties shall submit, in Word format, via e-mail to ruiz@flsd.uscourts.gov,

  proposed jury instructions, including substantive charges and defenses, and a verdict form prior to

  Calendar     Call.    For    instructions    on    filing   proposed     documents,     please    see

  http://www.flsd.uscourts.gov. Although they need not agree on each proposed instruction, the

  parties shall submit their proposed jury instructions and verdict form jointly. Where the parties

  do not agree on a proposed instruction, that instruction shall be set forth in bold type. Instructions

  proposed only by the Government shall be underlined. Instructions proposed solely by the defense

  shall be italicized. Every instruction must be supported by citation to authority.

         6. Prior to Calendar Call, all counsel shall file lists of proposed witnesses and/or exhibits

  to be presented at trial. All exhibits to be offered into evidence must be pre-labeled in accordance




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  with the proposed exhibit list. Government exhibits shall be designated numerically; defense

  exhibits will proceed alphabetically.

            7. The deadline for the scheduling of guilty pleas is September 10, 2019. See, e.g.,

  United States v. Gamboa, 166 F.3d 1327, 1331 (11th Cir. 1999) (citing United States v. Ellis, 547

  F.2d 863, 868 (5th Cir. 1977)).

            8. If any party seeks to introduce transcript(s) at the trial, that party shall exchange those

  transcripts with all counsel prior to Calendar Call. If a transcript cannot be agreed upon, each

  party shall be prepared to produce its own version for the trier of fact.

            9. All anticipated Jencks Act 1 material shall be turned over to defense counsel no later

  than the morning of the first day of trial. The material shall include a face sheet for defense

  counsel to sign and date, acknowledging receipt.

            10. Upon receipt of this Order, counsel for each defendant shall certify with the Court’s

  courtroom deputy whether that Defendant requires the aid of an interpreter. All parties are under

  an additional instruction to notify the Court, at least 24 hours prior to any hearings or trial, if an

  interpreter is required.

            11. Arrangements for appropriate clothing for Defendants in custody must be made with

  the Bureau of Prisons at least seven days prior to the scheduled trial date.

            12. The parties shall comply with Local Rule 88.5, which requires the filing of speedy

  trial reports every 20 days hereafter until the time of trial or plea.

            13. Local Rule 7.1(a)(2) requires that certain motions be accompanied by proposed

  orders, which must be filed as attachments to those motions. FURTHERMORE, PURSUANT


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      18 U.S.C. § 3500.

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  TO CM/ECF ADMINISTRATIVE PROCEDURES, PROPOSED ORDERS SHALL BE

  SUBMITTED        TO       THE   COURT    BY    E-MAIL   IN   WORD      FORMAT         TO

  ruiz@flsd.uscourts.gov.



         DONE AND ORDERED in Fort Lauderdale, Florida, this 12th day of August, 2019.




                                                    _________________________________
                                                    RODOLFO RUIZ
                                                    UNITED STATES DISTRICT JUDGE
  cc:    counsel of record




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